     Case 1:20-cv-00518-MAC Document 1 Filed 12/07/20 Page 1 of 7 PageID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

 UNITED STATES OF AMERICA,                      §
                                                §
                         Plaintiff,             §
                                                §
 v.                                             §     CIVIL ACTION No. 1:20CV518
                                                §
 ROBERT L. ADAMS,                               §
                                                §
                         Defendant.             §

                                       COMPLAINT

        The United States of America brings this action for damages and civil penalties

under the False Claims Act, 31 U.S.C. § 3729, et seq. and in the alternative, for

repayment under theories of payment by mistake and unjust enrichment.

A.      JURISDICTION AND VENUE

        1.     This court has jurisdiction over this matter pursuant to 31 U.S.C. § 3730(a)

               and 28 U.S.C. § 1345.

        2.     Venue is proper in the Eastern District of Texas pursuant to 31 U.S.C.

               § 3732(a), 28 U.S.C. § 1391(b), and 28 U.S.C. § 1395(a).

B.      PARTIES

        3.     The plaintiff is the United States of America on behalf of the United States

               Railroad Retirement Board (“RRB:”).

        4.     The Defendant is Robert L. Adams, an individual who, at all times relevant

               to this Complaint, resided in the Eastern District of Texas.


Complaint
USA v. Robert L. Adams                                                                  Page 1
     Case 1:20-cv-00518-MAC Document 1 Filed 12/07/20 Page 2 of 7 PageID #: 2




C.      FACTUAL BACKGROUND

        5.     The Railroad Unemployment Insurance Act, as amended (45 U.S.C. § 351

               et seq.), provides federal benefits for unemployed railroad workers and is

               administered by the RRB. The program is financed by taxes paid by

               railroad employers.

        6.     To qualify for these federal benefits, unemployed railroad workers who

               meet the income and resource requirements of the program must disclose to

               the RRB any employment and income which might affect the claimant’s

               entitlement to benefits. Benefits cannot be claimed or paid for any date

               which the claimant worked, accrued or received compensation from any

               employer, including non-railroad employers.

        7.     Defendant was employed by BNSF Railway as an Engineer in Silsbee,

               Texas, and was discharged from his position on April 24, 2018.

               Defendant’s railroad service enabled him to be eligible to collect RRB

               unemployment insurance benefits during the period of unemployment.

        8.     On or about April 30, 2018, the RRB received Form UI-1, “Application for

               Unemployment Benefits and Employment Service,” from Mr. Adams and

               he was given a copy of RRB Booklet UB-10, “Unemployment Benefit

               Handbook For Railroad Employees,” which describes the rules and

               reporting requirements of collecting unemployment insurance benefits.




Complaint
USA v. Robert L. Adams                                                                  Page 2
  Case 1:20-cv-00518-MAC Document 1 Filed 12/07/20 Page 3 of 7 PageID #: 3




       9.      On the application dated April 30, 2018, Defendant stated: “I certify that

               the information I have provided on this form is true, correct and complete.

               I know that I must immediately report to the Railroad Retirement Board

               any changes which might affect my entitlement to benefits. I understand

               that disqualifications and civil and criminal penalties may be imposed on

               me for false or fraudulent statements claims or for withholding information

               to get benefits. I understand and agree to the requirements set forth in

               Booklet UB-10.”

       10.     RRB Booklet UB-10 stated, in part:

               To receive unemployment benefits you must:

                         – be unemployed and receive no wages, salary, pay for
                         time lost, vacation pay, holiday pay, railroad guarantee
                         pay, or other remuneration for the days you claim
                         benefits. Under certain conditions, part-time work
                         does not affect entitlement to benefits. However, you
                         must report all full-time and part-time work you
                         perform to the Railroad Retirement Board (RRB) on
                         each claim for benefits you file. The RRB will then
                         determine whether your pay is “subsidiary
                         remuneration” and whether benefits are payable for
                         days on which you worked part-time.

       11.     RRB Booklet UB-10 further warned: “You will be disqualified for both

               unemployment and sickness benefits for 75 days if you make a false or

               fraudulent statement or claim in order to receive benefits.”

       12.     In order to receive unemployment benefits, an applicant must submit RRB

               Form UI-3, “Claim for Unemployment Benefits,” every fourteen days.


Complaint
USA v. Robert L. Adams                                                                    Page 3
  Case 1:20-cv-00518-MAC Document 1 Filed 12/07/20 Page 4 of 7 PageID #: 4




       13.     For the unemployment insurance claim period beginning June 5, 2018,

               through the claim period beginning December 4, 2018, Defendant

               submitted fourteen (14) false and fraudulent “Claim for Unemployment

               Benefits” forms UI-3. On each claim form, question 7a asked Defendant

               “Did you work on any day claimed for any person or company or were you

               self-employed?” On each UI-3 form, Defendant failed to reveal his

               employment with Trans Global Solutions or SGS Petroleum.

       14.     Defendant began employment with Trans Global Solutions, Inc. on or about

               June 6, 2018, through July 30, 2018, and employment with SGS Petroleum

               from on or about July 30, 2018, through June 12, 2019. Defendant knew he

               was employed and continued to submit claims for unemployment benefits.

       15.     In seeking and receiving unemployment insurance benefits, Defendant

               concealed material facts, to wit, his non-railroad employment and his

               earnings therefrom, when he knew or should have known that this

               employment was material to the RRB.

       16.     But for Defendant’s false statements and claims, he would not have

               received unemployment insurance benefits from on or about June 5, 2018,

               through December 4, 2018.

       17.     As a result of Defendant’s actions, the United States has been damaged in

               the amount of $12,520.19.




Complaint
USA v. Robert L. Adams                                                                 Page 4
  Case 1:20-cv-00518-MAC Document 1 Filed 12/07/20 Page 5 of 7 PageID #: 5




                                           Count I

                             False Claims Act – False Claims

       18.     Plaintiff repeats and re-alleges each allegation set forth above in paragraphs

               1 through 17 as if set forth fully herein.

       19.     By virtue of the acts described above , Defendant knowing presented, or

               caused others to present, to an officer, employee or agent of the United

               States False or fraudulent claims to obtain payment or approval in violation

               of the False Claims Act, 31 U.S.C. §§ 3729-3733.

       20.     As used in this count, the term “knowingly” means that a person, with

               respect to information, (a) has actual knowledge of the information; (b) acts

               in deliberate ignorance of the truth or falsity of the information; or (c) acts

               in reckless disregard of the truth or falsity of the information.

       21.     Plaintiff paid the false or fraudulent claims because of the acts of Defendant

               and, as a result, the United States has incurred actual damages in the

               amount of $12,520.19, exclusive of interest and costs.

       22.     Pursuant to the False Claims Act, 31 U.S.C. § 3729(a)(1), as amended,

               Defendant may be liable to the United States under the treble damage and

               civil penalty provision of the False Claims Act for a civil penalty of not less

               than $5,500 and not more than $11,000 for each of the false or fraudulent

               claims herein, plus three (3) times the amount of damages which the United

               States has sustained because of Defendant’s action.


Complaint
USA v. Robert L. Adams                                                                    Page 5
  Case 1:20-cv-00518-MAC Document 1 Filed 12/07/20 Page 6 of 7 PageID #: 6




                                           Count II

                                    Payment By Mistake

       23.     Plaintiff repeats and re-alleges each allegation set forth above in paragraphs

               1 through 17 as if set forth fully herein.

       24.     Plaintiff made payments on the claims submitted by Defendant under the

               erroneous belief that the claims for payment were based upon

               representations which were factually accurate and which represented actual

               dates of unemployment.

       25.     Plaintiff’s erroneous belief was material to the payments made by Plaintiff

               to Defendant.

       26.     Because of these mistakes of fact, Defendant received monies to which he

               was not entitled.

       27.     By reason of the overpayments described above, Plaintiff is entitled to

               damages in the amount of at least $12,520.19.

                                          Count III

                                     Unjust Enrichment

       28.     Plaintiff repeats and re-alleges each allegation set forth above in paragraphs

               1 through 17 as if set forth fully herein.

       29.     Because of Defendant’s conduct, Defendant has been unjustly enriched

               with federal monies which in good conscience he should not be allowed to

               retain.


Complaint
USA v. Robert L. Adams                                                                   Page 6
  Case 1:20-cv-00518-MAC Document 1 Filed 12/07/20 Page 7 of 7 PageID #: 7




       30.     Defendant has been unjustly enriched to the detriment of the United States

               in the amount of $12,520.19.

                                         Claim for Relief

       WHEREFORE, the United States demands judgment against Defendant as

follows:

               (a)       on Count I (False Claims), judgment against Defendant for double

                         the government’s single damages of $12,520.19;

               (b)       on Count II (Payment by Mistake), judgment against Defendant for

                         single damages, pre- and post-judgment interest, and any such

                         further relief as the court deems appropriate; and

               (c)       on Count III (Unjust Enrichment), judgment against Defendant for

                         single damages, pre- and post-judgment interest, and any such

                         further relief as the court deems appropriate.

                                              Respectfully submitted,

                                              STEPHEN J. COX
                                              UNITED STATES ATTORNEY

                                              /s/ Andrea L. Parker     ______
                                              ANDREA L. PARKER
                                              Assistant United States Attorney
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                                              Beaumont, Texas 77701-2237
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Dated: December 7, 2020


Complaint
USA v. Robert L. Adams                                                                   Page 7
JS 44 (Rev. 10/20)   Case 1:20-cv-00518-MAC CIVIL
                                            Document 1-1 Filed
                                                  COVER        12/07/20 Page 1 of 1 PageID #: 8
                                                           SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
          United States of America                                                                        Robert L. Adams
    (b)   County of Residence of First Listed Plaintiff                                                   County of Residence of First Listed Defendant              Jefferson
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
      Andrea L. Parker, Assistant United States Attorney
      350 Magnolia, Suite 150
      Beaumont, Texas 77701         Tel: (409) 839-2538
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
✖ 1     U.S. Government                  3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

    2   U.S. Government                  4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158         ✖ 375 False Claims Act
    120 Marine                          310 Airplane                    365 Personal Injury -           of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                Product Liability       690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                Liability                  367 Health Care/                                                                                   400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                               PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                   430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                       450 Commerce
    152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated         460 Deportation
         Student Loans                  340 Marine                          Injury Product                                                    New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                     LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud             710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending            Act                                                                485 Telephone Consumer
    190 Other Contract                      Product Liability           380 Other Personal          720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability      360 Other Personal                  Property Damage             Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                           Injury                      385 Property Damage         740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability       751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                            Medical Malpractice                                         Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS           790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:              791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee              Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                            870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                        Sentence                                                          or Defendant)                896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                      871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty               IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                            Employment                  Other:                      462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other        465 Other Immigration                                                  950 Constitutionality of
                                            Other                       550 Civil Rights                Actions                                                                State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3      Remanded from             4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
      Proceeding             State Court                             Appellate Court             Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                             (specify)                  Transfer                         Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         31 U.S.C. § 3729-33
VI. CAUSE OF ACTION                      Brief description of cause:
                                         False Claims Act
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:                    Yes        ✖   No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE                                                              DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
12/7/2020                                                               /s/ Andrea L. Parker
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
